Case 9:10-cr-80149-KAM Document
                         UNTTED 1330
                                STAIE Entered  on COURT
                                      S D ISTRJCT FLSD Docket 04/07/2014 Page 1 of 1
                         SOUTIG RN DISTRJCT OF FLORID A
  UNITEDSTATESOFAMERICA             ,
                                                     CASENO; ?O - 9o)L1:- &d
                        Plaintiff



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  DATE: qlq)t4                                    CourtReporter:    Stenhen Franklin

  AUSA rarc > ktccbt' DefenseCounsei:                                    or a-s G stx/'
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 Imprbonment           )                     Mox'
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 Probation                    YEARS asto COUNTS



 Sapervled Release              YEA RS asto Count
     Association restiction         Emplom entRequirem ent            Permigsibie Search      Deportation

     M entalHea1th Treatm ent            Subennoeabuse teatment         Financialdisclosure           N o debt

     N o self-employment        Reiated concern restriction        Sex offenderconditions
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 Assessm ent $ 1OO'Hsi
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     Counts rem aining dism issed on Governm entm otion                                          ..     - ---

     Defendantadvised ofhisrighttc appeal.

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